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                                                                                        EXHIBIT I

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No: 2l-cv-1708-WJM-MDB


  ESTATE OF CHAD ALEXANDER BURNETT,

          Plaintiff,

  V.


  CITY OF COLORADO SPRINGS, a municipality;
  SERGEANT MICHAEL INAZU, in his individual capacity;
  OFFICER JOSEPH DAIGLE, in his individual capacity;
  OFFICER MATTHEW FLEMING, in his individual capacity; and
  OFFICER CAROLINE BARTH, in her individual capacity,

          Defendants.




       AFFIDAVIT OF MICHAEL INAZU IN SUPPORT OF INDIVIDUAL DEFENDANTS’
                       MOTION FOR SUMMARY JUDGMENT


   STATE OF COLORADO                     )
                                         ) ss
   COUNTY OF EL PASO                     )
   I, Michael Inazu, having been duly sworn upon oath, depose and hereby state as follows:

           1.     I have personal knowledge of the facts stated herein.

          2.      I was employed as a police officer for the Colorado Springs Police Department

   (“CS PD”) on May 24, 2020.

          3.      The map identified as Exhibit M accurately depicts the cul-de-sac on Ashgrove

   Street, including the location and addresses of the residences.
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          4.       Based on my involvement in the events on May 24, 2020, on that date, Chad

   Burnett resided at 2749 Ashgrove Street, John and Carolyn Shaw lived at 2760 Ashgrove Street,

   and Cornelia “Nina” Maytag lived at 2750 Ashgrove Street.

          5.       In my experience as a police officer, the process to obtain an arrest warrant often

   takes multiple hours. It requires authoring the affidavit, formatting the body on the correct

   template, supervisor review, notarization, and presentation to the on-call judge. A supervisor on-

   scene of an active call is unable to review the warrant because their primary responsibility is the

   active call. Some on-call judges require a hard copy of the warrant and affidavit prior to review.

   Other judges allow electronic review. Some judges will have follow-up questions while reviewing

   the warrant.

          6.       As part of my uniform, I wore a body-worn camera (“BWC”) that recorded audio

   and video from the call for service that is the subject of this case. During the struggle with Mr.

   Burnett, my BWC device stopped recording audio. I was unaware of this occurring at the time.

   Submitted as Exhibit G and H to the Individual Defendants’ Motion for Summary Judgment is a

   true and correct copy of my BWC recordings from the call-for-service involving Mr. Burnett on

   May 24, 2020.

   FURTHER AFFIANT SAYETH NAUGHT.

   Dated this 21St day of December, 2023


                                                 Michael Inazu

   SUBSCRIBED AND SWORN to before me this 2 l day of December, 2023, by Michael Inazu.

   Witness my hand and official seal.



               AJ MCALPINE
              NOTARY PUBLIC
           STATE OF COLORADO
          NOTARY ID 2022401711,6
      My Commission Expires 04-28-2026              2
